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             IN THE UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                        Plaintiff,

      Vs.                                       Nos. 09-40031-02-SAC
                                                     11-4005-SAC

MANUEL S. GARCIA,

                        Defendant.


                         MEMORANDUM AND ORDER

            This case is before the court on the defendant Manuel S. Garcia’s

motion for relief pursuant to 28 U.S.C. § 2255 (Dk. 86) supported by a

memorandum of law (Dk. 87). The government has filed its response

opposing the motion. (Dk. 95). The defendant did not file a reply to the

government’s response. The case is ready for decision.

BACKGROUND

            On April 15, 2009, the grand jury returned an indictment against

the defendant Garcia and his co-defendant, Gonzalo P. Maldonado, charging

both with the single count of possessing with the intent to distribute 3,759.9

grams of a mixture or substance containing a detectable amount of

methamphetamine. On September 29, 2009, the day before his trial was

scheduled to commence, the defendant Garcia entered a guilty plea to count

one pursuant to a plea agreement with the government. The government
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agreed to recommend that the defendant receive a full adjustment for

acceptance of responsibility and a two-level mitigating role adjustment. The

plea agreement further provided for the defendant’s waiver of his right to a

direct appeal and to a collateral attack. The court sentenced the defendant

on January 6, 2010, to the mandatory minimum term of 120 months of

imprisonment. The defendant did not file a direct appeal, but he did timely

file on January 14, 2011, his pending motion for relief pursuant to 28 U.S.C.

§ 2255.

ISSUES

            Liberally construing his pro se motion and supporting

memorandum, the court finds the defendant is arguing that his counsel was

ineffective in advising him to enter a plea: (1) when the defendant is

innocent of the crime charged, (2) when the defendant did not understand

he would receive no benefit from the government and would be waiving his

appellate rights, and (3) without discussing the defendant’s option of

pleading guilty without an agreement that waived his appellate rights.1



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       In his memorandum’s statement of the case, the movant includes the
following: “The Petitioner requested for his attorney to appeal his sentence
and his attorney denied his request.” (Dk. 87, p. 3). The movant does not
refer to this circumstance in his arguments nor does he ask for any relief
based on it. Instead, the § 2255 motion argues he did not knowingly and
voluntarily waive his appellate rights, because his counsel did not explain
that the plea agreement would not benefit the defendant and because his
counsel failed to inform him of the “open plea” option without a waiver of
appellate rights.

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GENERAL § 2255 STANDARDS

            A district court may grant relief under § 2255 if it determines

“that the judgment was rendered without jurisdiction, or that the sentence

imposed was not authorized by law or otherwise open to collateral attack, or

that there has been such a denial or infringement of the constitutional rights

of the prisoner as to render the judgment vulnerable to collateral attack.”

28 U.S.C. § 2255. “Review under § 2255 is not an alternative to appellate

review for claims that could have been presented on direct appeal but were

not.” United States v. Magleby, 420 F.3d 1136, 1139 (10th Cir. 2005), cert.

denied, 547 U.S. 1097 (2006). A movant may overcome this procedural bar

by showing either of “two well recognized exceptions.” United States v.

Cervini, 379 F.3d 987, 990 (10th Cir. 2004), cert. denied, 544 U.S. 904

(2005). First, the movant must show good cause for not raising the issue

earlier and actual prejudice to the movant’s defense if the issue is not

considered. Id. Cause may “be established by showing that counsel

rendered constitutionally ineffective assistance.” United States v. Wiseman,

297 F.3d 975, 979 (10th Cir. 2002) (citations omitted). Second, the “‘failure

to consider the federal claims will result in a fundamental miscarriage of

justice.’” Cervini, 379 F.3d at 990 (quoting Coleman v. Thompson, 501 U.S.

722, 750 (1991)); see Bousley v. United States, 523 U.S. 614, 621-22

(1998) (a showing of actual innocence meets the fundamental miscarriage of



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justice prong).

            The court is to hold an evidentiary hearing “unless the [§ 2255]

motion and files and records of the case conclusively show that the prisoner

is entitled to no relief.” 28 U.S.C. § 2255; United States v. Galloway, 56

F.3d 1239, 1240 n. 1 (10th Cir. 1995). The defendant has the burden to

allege facts that would entitle him or her to relief upon proof. See Hatch v.

Oklahoma, 58 F.3d 1447, 1471 (10th Cir. 1995), cert. denied, 517 U.S.

1235 (1996). “[T]he allegations must be specific and particularized, not

general or conclusory.” Id. The court may forego an evidentiary hearing if

the movant's factual allegations are “contradicted by the record, inherently

incredible, or when they are conclusions rather than statements of fact.”

United States v. Caraway, 2010 WL 3721689 at *2 (D. Kan. Sept. 15, 2010)

(citing Arredondo v. United States, 178 F.3d 778, 782 (6th Cir. 1999); see

also United States v. Fisher, 38 F.3d 1144, 1147 (10th Cir. 1994) (“rejecting

ineffective assistance of counsel claims which are merely conclusory in

nature and without supporting factual averments”)). A hearing is

unnecessary here, for the movant’s allegations are contrary to the record

and conclusory rather than factual. The record and reasons stated hereafter

conclusively establish that the defendant is not entitled to relief on his

claims.

            The Sixth Amendment guarantees that “[i]n all criminal



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prosecutions, the accused shall enjoy the right ... to have the Assistance of

Counsel for his defense.” U.S. Const. Amend. VI; Kansas v. Ventris, 129

S.Ct. 1841 (2009). To prevail on a claim of ineffective assistance of counsel,

the defendant must prove two prongs: first, “that his ‘counsel's

representation fell below an objective standard of reasonableness,’

Strickland v. Washington, 466 U.S. 668, 688 (1984),” and second, “‘that

there is a reasonable probability that, but for counsel's unprofessional errors,

the result of the proceeding would have been different,’ id. at 694.” United

States v. Taylor, 454 F.3d 1075, 1079 (10th Cir. 2005). “[T]here is no

reason for a court deciding an ineffective assistance claim . . . to address

both components of the inquiry if the defendant makes an insufficient

showing on one.” Strickland v. Washington, 466 U.S. at 697.

            On the first prong of objective reasonableness, a court may not

find a constitutional deficiency unless defense counsel's performance is

“completely unreasonable, not merely wrong.” Boyd v. Ward, 179 F.3d 904,

914 (10th Cir. 1999), cert. denied, 528 U.S. 1167 (2000). Proof must show

the counsel's conduct was not “within the wide range of competence

demanded of attorneys in criminal cases.” United States v. Blackwell, 127

F.3d 947, 955 (10th Cir. 1997) (quotation and citations omitted). A court is

highly deferential in its review of the attorney's performance. Strickland,

466 U.S. at 689. The court “must indulge a strong presumption that



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counsel's conduct falls within the wide range of reasonable professional

assistance; that is, the defendant must overcome the presumption that,

under the circumstances, the challenged action might be considered sound

trial strategy.” Strickland, 466 U.S. at 689; see United States v. Holder, 410

F.3d 651, 654 (10th Cir. 2005). “The reasonableness of counsel's

performance is to be evaluated from counsel's perspective at the time of the

alleged error and in light of all the circumstances.” Kimmelman v. Morrison,

477 U.S. 365, 281 (1986).

             The movant’s burden on the second prong of prejudice is to

show here that but for counsel's constitutionally ineffective performance

there was a reasonable probability that the outcome of his conviction or

sentence would have been different. See Strickland, 466 U.S. at 694; Boyd

v. Ward, 179 F.3d at 914. “A reasonable probability is a probability

sufficient to undermine confidence in the outcome.” Strickland, 466 U.S. at

694.   If a sentencing counsel fails to object or argue a matter with the

result of a longer sentence, this suffices to establish prejudice. Glover v.

United States, 531 U.S. 198, 203-04 (2001).

             “Before deciding whether to plead guilty, a defendant is entitled

to the effective assistance of competent counsel.” Padilla v. Ky., ––– U.S.

––––, 130 S.Ct. 1473, 1480–81 (2010) (quotation omitted). Effective

performance in this context requires “counsel's informed opinion as to what



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pleas should be entered.” United States v. Carter, 130 F.3d 1432, 1442

(10th Cir. 1997), cert. denied, 523 U.S. 1144 (1998). “In the context of a

guilty plea, the prejudice prong requires a defendant to show that “but for

counsel's errors, he would not have pleaded guilty and would have insisted

on going to trial.” United States v. Harms, 371 F.3d 1208, 1211 (10th Cir.

2004) (citing Hill v. Lockhart, 474 U.S. 52, 59 (1985)).

            If Mr. Garcia is asserting “actual innocence” as an independent

claim for § 2255 relief, this circuit does not recognize habeas relief for such

a claim:

      [A]n assertion of actual innocence, although operating as a potential
      pathway for reaching otherwise defaulted constitutional claims, does
      not, standing alone, support the granting of the writ of habeas corpus.
      See Herrera v. Collins, 506 U.S. 390, 400, 113 S.Ct. 853, 122 L.Ed.2d
      203 (1993) (“Claims of actual innocence based on newly discovered
      evidence have never been held to state a ground for federal habeas
      relief absent an independent constitutional violation occurring in the
      underlying state criminal proceeding.”); id. at 401, 113 S.Ct. 853
      (“Few rulings would be more disruptive of our federal system than to
      provide for federal habeas review of freestanding claims of actual
      innocence.”); Sellers v. Ward, 135 F.3d 1333, 1338-39 (10th
      Cir.1998) (discussing Herrera).

LaFevers v. Gibson, 238 F.3d 1263, 1265 n.4 (10th Cir. 2001); see United

States v. Jackson, 2011 WL 2678720, at *3 (10th Cir. 2011) (“actual

innocence” is no free standing claim in a § 2255 action).

            The defendant appears to argue his counsel was ineffective in

advising him to “go along” with the plea when he was actually “innocent” of

the crime. The defendant’s only argument in support of this bare assertion


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of innocence is that “[t]he drugs belong to” the co-defendant. (Dk. 87, p.

7). This assertion is not a viable claim of innocence, for the defendant can

be guilty on theories of conspiracy, aiding and abetting, or joint constructive

possession. See United States v. Curry, 494 F.3d 1124, 1128 (D.C. Cir.

2007); United States v. Delgado-Uribe, 363 F.3d 1077, 1084 (10th Cir.

2004). To be used in overcoming the procedural bar, actual innocence

requires the petitioner to demonstrate that, “‘in light of all the evidence,’” “it

is more likely than not that no reasonable juror would have convicted him.”

Schlup v. Delo, 513 U.S. 298, 327-328 (1995). The defendant offers no

evidence in support of this assertion, and his denial of ownership offers

nothing substantial. The defendant’s sworn statements at his change of plea

hearing fully contradict his naked denial of guilt. (Dk. 93, p. 10). The

Supreme Court has explained:

      For the representations of the defendant, . . . as well as any findings
      made by the judge accepting the plea, constitute a formidable barrier
      in any subsequent collateral proceedings. Solemn declarations in open
      court carry a strong presumption of verity. The subsequent
      presentation of conclusory allegations unsupported by specifics is
      subject to summary dismissal, as are contentions that in the face of
      the record are wholly incredible.

Blackledge v. Allison, 431 U.S. 63, 73–74 (1977). Having failed to attempt

or proffer any showing of actual innocence, the defendant Garcia’s

conclusory allegation is subject to summary dismissal.

            The defendant Garcia contends his counsel was ineffective in



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advising him to plead guilty pursuant to a plea agreement that waived his

appellate rights without receiving anything in return. In the defendant’s

opinion, he received nothing from the plea agreement, and he could have

obtained the same mandatory minimum sentence of 120 months pursuant to

an open plea that would have preserved his rights to a direct appeal. The

defendant asserts he “would not have knowingly waived the right to appeal

his sentence were he armed with adequate facts in relation to the law of this

matter.” (Dk. 87, p. 6). In sum, the defendant is arguing his plea and

waiver were not voluntarily and knowingly made, because his counsel failed

to explain that he could receive the same sentence with an open plea.

            The defendant Garcia has not shown his counsel’s representation

fell below the objective standard of reasonableness. A “miscalculation or

erroneous sentence estimation by a defense counsel is not a constitutionally

deficient performance rising to the level of ineffective assistance of counsel.”

United States v. Gordon, 4 F.3d 1567, 1570-71 (10th Cir. 1993), cert.

denied, 510 U.S. 1184 (1994). The record shows the defendant did receive

benefits from his plea agreement. First, the plea agreement provided the

government would recommend a two-level mitigating role reduction, and the

probation officer prepared the presentence report (“PSR”) mindful of the

government’s agreement. The circumstances of the traffic stop did not

factually and conclusively establish the defendant’s entitlement to this role



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reduction. In fact, the defendant’s statements during the post-arrest

interview2 could have been argued against this reduction and resulted in a

longer guideline sentencing range. The plea agreement kept the

government from advocating those possible circumstances in an effort to

influence the PSR writer and the court to deny the reduction and the lower

base offense level.3 Second, the plea agreement held out the possibility of a

substantial assistance motion by the government that would have authorized

the court to impose a sentence below the statutory minimum sentence. 18

U.S.C. § 3553(e). The record plainly establishes that the defendant

materially benefitted from a role reduction which the government agreed to

recommend and to not challenge. Additionally, the defendant benefitted

from the possibility of a sentence below the mandatory minimum in the

event he chose to provide substantial assistance. While the defendant did



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       Unlike his co-defendant, the defendant admitted to making a prior trip
to Kansas with a “drug guy” whose telephone number was stored in the
defendant’s cell phone. The defendant’s statements about the “drug guy”
displayed a familiarity with this individual and understanding of this
individual’s practices. These circumstances suggest knowledge, quantity of
drugs, planning, and more than one transaction. These would be factors
that weigh against a role reduction. See United States v. Vargas-Islas, 437
F. Supp. 2d 1180, 1183 (D. Kan. 2006). Additionally, the defendant’s
statement certainly lacked the factual detail that would compel a minor role
reduction.
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       The effect of the mitigating role adjustment was a six-level reduction
in the defendant’s offense level. Without this adjustment, the defendant’s
guideline sentencing range would have been 210 to 262 months with only an
acceptance of responsibility adjustment.

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not receive a substantial assistance departure, the plea agreement certainly

recognized and created his opportunity for receiving one should he have

followed through on this course. Because the defendant did benefit from the

plea agreement, he cannot show his counsel’s performance was objectively

unreasonable for not advising otherwise.

            The record demonstrates the defendant entered his plea with all

appropriate information regarding the benefits of his plea agreement, the

relevant aspects of his eventual sentencing, and the details of his waiver of

appellate rights. The prosecution summarized the significant terms of the

plea agreement including the defendant’s minor role reduction and lower

base offense level, his right to request a variance, and his opportunity to

provide substantial assistance. (Dk. 93, p. 8). The defendant told the court

that he agreed with the prosecutor’s summary of these significant terms.

Id. at 9. The defendant was informed of the mandatory minimum sentence

of 120 months, of the court’s consideration of the sentencing guidelines, and

of the possibility that the sentence could be different from what his counsel

and others may have suggested. Id. at 16-17. The defendant told the court

he understood all of these matters. Finally, the court expressly referred to

paragraph thirteen of the plea agreement in which the defendant waived his

appellate rights. The court paused for defense counsel to again explain to

the defendant the terms of this paragraph. The defendant then told the



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court that he understood the waiver provisions in this paragraph. Id. at 18.

The defendant further told the court that he and his counsel had gone over

all the provisions of the plea agreement. Id. at 16. The court found that the

defendant entered his plea of guilty “freely, voluntarily, knowingly, and

understandingly” and that the plea was “supported by an independent basis

in fact.” Id. at 20. The defendant’s own sworn statements at this hearing

establish that his plea was free from coercion and that he understood the

nature of his charges and the consequences of his plea, including the waiver

of his appellate rights. The record completely contradicts the defendant’s

assertion that his plea and waiver were not voluntary and knowing.

            The defendant next contends that had he entered an “open

plea”4 to the charged count, he would have received the same sentence

without having “knowingly waived his right to appeal.” (Dk. 87, p. 6). Thus,

the defendant complains his counsel was ineffective in not advising him of

the “open plea” option. Assuming counsel performed deficiently in failing to

discuss the open plea option, the defendant is unable to show prejudice. As

discussed above, the defendant did benefit from his plea agreement.



      “An ‘open’ or ‘blind’ guilty plea is a plea made by the defendant
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without the benefit of a plea agreement entered into with the government.”
United States v. Terrell, 2010 WL 4000626 at *3 n. 26 (D. Kan. 2010) (citing
United States v. Navarro, 476 F.3d 188, 189 (3d Cir. 2007), cert. denied,
552 U.S. 1144 (2008)).



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Moreover, the defendant offers no showing of prejudice from having waived

his right to a direct appeal. He does not identify or discuss any appellate

issues that probably would have vacated his conviction or lowered his

sentence. The defendant does not assert or show that but for his counsel’s

ineffective advice, he would not have pleaded guilty. See United States v.

Harms, 371 F.3d at 1212. The record also establishes that the defendant’s

sentence under the open plea option could only have been longer and not

shorter than the mandatory minimum sentence imposed pursuant to the

plea agreement.

            As now required by Rule 11 of the Rules Governing Section 2255

Proceedings, “[t]he district court must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant.” Such a

certificate “may issue . . . only if the applicant has made a substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).

This standard requires the applicant to demonstrate that “reasonable jurists

could debate whether . . . the petition should have been resolved in a

different manner or that the issues were adequate to deserve

encouragement to proceed further.” Slack v. McDaniel, 529 U.S. 473, 484

(2000) (quotations omitted). As the above ruling shows, no reasonable

jurist would debate that the defendant’s arguments should have been

resolved differently or that the issues are worthy of more consideration. The



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court will not issue a certificate of appealability for this order.

            IT IS THEREFORE ORDERED that the defendant's motion for

relief pursuant to 28 U.S.C. § 2255 (Dk. 86) and supporting memorandum of

law (Dk. 87) is denied;

            IT IS FURTHER ORDERED that a certificate of appealability is

denied.

            Dated this 6th day of October, 2011, Topeka, Kansas.



                          s/ Sam A. Crow
                          Sam A. Crow, U.S. District Senior Judge




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